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                                                                            Slip Sleeveless
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9/4/2020
       Case                  Maternity Round collar
               2:20-cv-11181-CAS-JPR                Floral full print
                                              Document           10-2 Short Filed
                                                                            Slip Sleeveless
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9/4/2020
       Case                  Maternity Round collar
               2:20-cv-11181-CAS-JPR                Floral full print
                                              Document           10-2 Short Filed
                                                                            Slip Sleeveless
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                                                                                                    Dress Only
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9/4/2020
       Case                  Maternity Round collar
               2:20-cv-11181-CAS-JPR                Floral full print
                                              Document           10-2 Short Filed
                                                                            Slip Sleeveless
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  Case                     Document
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                                                                           #:79 ID
                                   #:129
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  Case                     Document
        2:19-cv-10112 Document       10-211/26/19
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                                                                           #:80 ID
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                                                                           #:81 ID
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                                   #:134
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  Case                     Document
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